 &
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                              U NIT/D STATESD ISTRICT C OURT
                                      socTuEltxolsrrltlc'
                                                        roFftzoltm A
                                        FORT LAUDERDALE DW ISIO N

U NITED STA TES OF AM E RICA                                           JUDGM ENT JN A CRIM INAL CASE
VS.
                                                                       CaseNumber:0:23-CR-60012-AHS(1)
 CHAA ESETIENNE                                                        U SM N um ber:43643-510

                                                                       CounselforDefendént:TamaBeth Kudman
                                                                       CounselforUnitedStates:ChristopherClark
TH E D EFEN DA N T:
 I
 ZI pleadedguiltytocountts)             .           1oftheInformation
    pleadedguiltytocountts)beforeaU.S.
 Z MagistrateJudge,whichwasacceptedbythe
       pleadednolocontenderetocountts)whichwas         '
       acce tedb thecourt                                                                                       .
     'wasfoundguiltyoncountts)afterapleaofnot                                                                            '
        ui1                                                                                                                 .

Thedefendantisadjudicatedguiltyoftheseoffenses:
 Title& Section/NatureofO ffense                                                           O ffense Ended           Count
 18U.S.C.j1349ConspiracytoCommitMailFraudandW ireFraud                                     07/7021                  1




Thedefendantissentencedasprovidedinpages2through6ofthisjudgment.ThesentenceisimposedpursuanttotheSentencing
Reform Actof1984.                                                                                                    '

 Z Thedefepdanthasbeenfoundnotguiltyoncountts)
 EEI countts) EEIis Eq
                     ) aredismissedonthemotionoftheUnitedStates
        ltisorderedthatthedefendantmustnotify theUnited Statesat4orney forthisdistrictwithin20 daysofany changeofname,
residence,ormailingaddressuntilallfines,restitution,costs,andspecialassessmentsimposedbythisjudgmentarefullypaid.lf             '
orderedtopay restitm ion,thedefendantmustnotifythecourtandUnitedStatesattorney ofmaterialchangesin econom sc
circum stances.
              '          '

                                                           Novem ber2.2023
                                                           DateofIm sitionofJudgment                        -
                                                                                       N



                                                           SignatureofJudge,
                                                                                                     q.
                                                           R AA G SIN G H A L
                                                           UN ITED STA TES D ISTR ICT JUD G E
                                                           NameandTie fJudge               '
                                                           :2                  .
                                                                               .       Do
                                                                                        2                   %

                                                           Date
)    %Case 0:23-cr-60012-AHS Document 38 Entered on FLSD Docket 11/03/2023 Page 2 of 6
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    DEFENDANT:             CHARLES ETIENNE
    CASE N UM BER:         0:23-CR-60012-AHS(1)
                                                      PR O BA T IO N
    Thedefendantisherebysentencedtoprobationforaterm of:

    Five(5)YearsastoCount1oftheInformation.
    Countstorun:Z Concurrent       Z Consecutive

                                          M A N D A TO R Y C O N D IT IO N S

           You mustnotcommitanotherfederal,stateorlocalcrime.
           You mustnotunlawfullypossessacontrolled substance.
           You mustrefrain frbm any unlawf'
                                          uluseofacontrolledsubstance.You mustsubmittoonedrugtestwithin 15daysof
           releasefrom imprisonmentand atleasttwoperiodicdrug teststhereafter,.asdeterminedbythecoul't.
               (7) Theabovedrugtestingconditionissuspended,basedonthecourfsdetenuination'thatyouposealow riskof
                   futuresubstanceàbuse.Lcheckfapplicable)        .      .                           f

           (
           /   YoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.Lcheckfapplicable)
           (7) YoumustcomplywiththerequirementsoftheSexOffenderReyjstrationandNotificationAct(34U.S.C.j20901,et
               seq.)asdirectedbytheprobationofficer,theBureauofPrisons,oranystatesexoffenderregistrationagencyinwhich
               youreside,work,areastudent,orwereconvictedofaqualifyingoffense.(checkfapplicable)
           E(j Youmustparticipateinanapprovedprogram fordomesticviolence.(checkfapplicable)
           EEI Youmustmakerestitutioninaccordancewith18U.S.C.jj2248,2259,2264,2327,3663,3663A,and3664.(checkf
               applicable)
               Youmustpaytheassessmentimposedinaccordancewith18U.S.C.j3013.
           ((() lfthisjudgmentimposesafine,youmustpayinaccordancewiththeScheduleofPaymentssheetofthisjudgment.
     10.       Youm ustnotify thecourtofany materialchange inyoureconom iccircumstancesthatmightàffectyourabilityto pay
               restitution,fines,orspecialassessm ents.
              You mustcomply withthestandardconditionsthathavebeen adoptedbythiscoul'
                                                                                    taswellaswith any additional
     conditionsontheattached page.                                           '
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   AO 2458 (Rev.FLSD 2/20)JudgmentinaCriminalCas'
                                                e                                                         Judgment- Page3of6

  DEFENDANT:              CHARLES ETIENNE
  CASE NUM BER:            0:23-CR-60012-AHS(1)
                               STA N D A          C O N D ITIO N S O F PR O BA TIO N
 Aspartofyourprobation,you mustcomply withthefollowing standardconditionsofsupervision.Theseconditionsare imposed
 becausethey establish thebasicexpectationsforyourbehaviorwhileonsupervision andidentify them inim um toolsneededby
 probation officersto keep informed,reporttothecourtabout,and bring aboutimprovem entsinyourconductand condition.

  1.Youmustreporttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursofyour
' releasefrom imprisonment,unlesstheprobationofficerinstructsyouto repol'  tto adifferentprobation officeorwithin adifferenttime
  frame.
  2.Aherinitially reportingtotheprobation office,you willreceiveinstructionsfrom the courtortheprobationofficerabouthow and
  whenyoumustreporttotheprobationofficer,andyoumustrejorttotheprobationofficerasinstructed.
  3.Youmustnotknowinglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgettingpenmissionfrom
 thecourtortheproba
                  'tièn ofticer.
 4.Youmustanswertruthfullythequestionsasked byyourprobation officer.
 5.You mustliveataplaceapproved bytheprobation officer.lfyouplanto changewhereyou liveoranything aboutyourliving
  arrangements(suchasthepeopleyoulivewith),youmustnotifytheprobationofficeratleast10daysbeforethechang
                                                                                                     'e.Ifnotifying
 theprobation officerin advanceisnotpossibleduetounanticipated circumstances,youmustnotify theprobation officerwithin72
 hoursofbecoming awareofachangeorexpected change.                              '            .
 6.Youmustallow theprobation officertovisityou atany timeatyourhomeofelsewhere,andyou mustperm ittheprobation officer
 totakeany itylpsprohibited bytheconditionsofyoursupelwision thathe orsheobservesin plain view.
  7.Youmustworkfulltime(atleast30hoursperweek)atalawfultypeofemployment,unlesstheprobationofficerexcusesyoufrom
  doingso.Ifyoudonothavefull-timeemploymentyoumusttry tofindfull-timeemploym ent,unlesstheprobationofficerexcuses
  youfrom doingso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositionoryourjob
  responsibilities),youmustnotifytheprobationofficeratleast10daysbeforethechange.lfn'
                                                                                    otifyingtheprobationofficeratleast10
  daysin advanceisnotpossibledueto unanticipatqd circumstances,youmustnotify theprobation officerwithin 72 hoursof
  becom ing awareofachangeorexpectedchange.
  8.Youmustnotcommunicateorinteractwith someoneyou know isengaged in criminalactivity.lfyou know som eonehasbeen
  convicted ofafelony,'youm ustnotknowingly com m unicateorinteractwith thatperson withoutfirstgetlingthepennission ofthe
  probationofficer.                                                                    '
  9.Ifyou arearrested orquestionedby a1aw enforcementofficer,youmustnotify theprobation officerwithin72 hours.
  10.Youmustnotown,possess,orhaveaccesstoafirearm,ammunition,destructivedevice,ordangerousweapon(i.e.,anythingthat
  wasdesigned,orwasmodifiedfor,thespecificpumoseofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchakusor
  tasers). .                .
  11.Youmustnotactormakeany agreementwith a1aw enforcementagency toactasaconfidentialhuman sourceorinformant
  withoutfirstgettingthepermissionofthecoul'
                                           t.
  12.lftheprobationofficerdetelnninesthatyouposearisktoanotherperson(includinganorganization),theprobationofficermay
  requireyoutonotifythepersonabouttheriskandyou mustcom plyw ith thatinstruction.Theprobation officerm ay contactthe
  personandconfirm thatyou havenotified theperson abouttherisk.          ,
   13.You m ustfollow theinstructionsoftheprobation officerrelatedtotheconditionsofsupervision.

  U .S.Probation O ffice U se O nly

  A U.S.probation officerhasinstructed me on theconditionsspecitied by the courtand hasprovided m ewith a
  writtencopyofthisjudgmentcontainingthesecon
                                            'ditions.1understandadditionalinformationregardingthese
  conditionsisavailableatww w.flsp.uscourts.uov.

   D efendant's Signatu'
                       re                                                                   D ate
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DEFENDANT:             CHARLES ETIENN E
CASE N UM BER:         0:23-CR-60012-AHS(l)
                             SPECIA L CON DITIO NS OF PR OBA TIO N
FinancialDisclpsureR equirem ent:Thedefendantshallprovidecom plete accessto tinancialinform ation,
including disclosure ofa1lbusinessandpersonalfinances,totheU .S.Probation Officer.

H ealth CareBusinessRestriction:The defendantshallnotown,directly orindirectly,orbe employed,
directly orindirectly,in any health carebusinessorservice,which submitsclaim st6 any private orgovernment
insurancecompany,withouttheCourt'sapproval.

NoNew DebtRestriction:'fhedefendantshallnotapplyfor,solicitorincurany furtherdebt,includedbutnot
lim ited to loans,linesofcreditorcreditcard charges,eitherasaprincipalorcosigner,asan individualor
throughanycorporateentity,withouttirsiobtainingpermissionfrom theUnited StatesProbationOfficer.
UnpaidRestitution,Fines,orSpecialissessments:lfthedefendanthasany unpaidamountofrestitution,
fines,orspecialassessm ents,thedefendantshallnotify theprobation officerofany m aterialchangein the
defendant'seconomiccircum stancesthatm ightaffectthe defendant'sability topay.
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DEFENDANT:               CHARLES ETIENNE
CASE NUM BER:            0:23-CR-60012-AHS(1)

                                   CRIM IYAL M ONETARY PENALTIES
     Thedefendantmust a thetotalcrim inalmoneta
     '                                                     enaltiesunderthescheduleof a ments a e. .
          '       A ssessm ent.      R estitution                      Fine   AVAA Assessm entW     JVTA Assessm entW*
 TOTALS               $100.00                $.00                 $5,500.00
          ((((
             j .       Thedetenuinationofrestitutionisdefen'
                                                           eduntil  AnAmendedludgmentinaCriminalCase
                       (AO245C)willbeenteredaftersuchdetermination.
          IZ           Thedefendantmustmakerestitmion(includingcommunityrestitution)tothefollowingpayeesinthe
                        amountlistedbelow.

         lfthedefendantmakesapartialpayment,eachpayeeshallreceivean approximately proportionedpayment.However,pursuantto 18 U.S.C.
         j3664(i),a11nonfederalvictimsmustbepaidbeforetheUnitedStatesispaid.


     Restitution amountordered pursuantto pleaagreem ent$
     Thedefendantmustpay interestonrestitutionandafineofmo'rethan $2 500,unlesstherestitution orfineispaid in fullbefore
     thefifteenthdayafterthedateofthejudgment,pursuantto18U.S.C.j36.
                                                                   12(9.A1lofthepaymentoptionsonthescheduleof
     paymentspagemaybesubjecttopenaltiesfordelinquencyanddefault,pursuantto18U.S.C.j3612(g).
     Thecourtdeterminedthatthedefendantdoesnothavetheability topay interestand itisorderedthat:
     E
     1 theinterestrequirementis'waivedforthe            r((j fine                        I
                                                                                         J restitution
     (
     Lj theinterestrequirementforthe                         fine                        (((
                                                                                           j restitutionismodifiedasfollows:
     Case 0:23-cr-60012-AHS Document 38 Entered on FLSD Docket 11/03/2023 Page 6 of 6
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DEFENDANT:                CHARLES ETIEN NE
CASE NUM BER:             0:23-CR-60012-AHS(1)
                                           sclu otu oF PAYM ENTS
Having assessed thedefendant'sability topay,paymentofthetotalcriminalmonetary penaltiesisdueasfollows:

 A     (
       H Lumpsum paymentsof$100.00du'
                                    eimmediately,balancedue
Itisordered thattheDefendantshallpaytotheUqited Statesaspecialassessmentof$100.00forCount1,which shallbedue
immediately:SaidspecialassessmentshallbepakdtotheClerk,U.S.DistrictCourt.Paymentistobeaddressedto:
        U.S.CLER K 'S O FFICE
        ATTN:FINA NCIAL SECTION
        400NO RTH M IAM IAVEN UE,R OO M 8N09
        M IAM I,FLORID A 33128-7716

Unlessthecourthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenaltiesis
dueduringimprisonment.A1lcriminalmonetal'y penalties,exceptthosepaymentsmadethrough theFederalBureau ofPrisons'
InmateFinancialResponsibilityProgram,aremadeto theclerkofthecourt.
Thedefendantshallreceivecreditforal1paymentspreviouslymadetowardany criminalmonetary penaltiesimposed.

       Jointand Several
       SeeabovefOrDefendantand Co-DefendantNamesandCaseNumbers(irlcluding defendantatfra:c/
                                                                                          l,TotalAmount,Jointand
       SeveralAm ount,and correspondingpayee,ifappropriate.

 (
 XI Thedefendantshallforfeitthedefendant'sinterestinthefollowingprope:tytotheUpitedStates:
    M oney Judgm entin the am ountof$155,000.00 ishereby entered againsttheD efendant.
Paymentsshallbeappliedinthefollowingorder:(l)assessment,(2)restitutionprincipal,(3)restitution interest,(4)AVAA assessment,(5)
fineprincipal,(6)tineinterest,(7)communityrestitution,(8)JVTA assessment,(9)penaltiel
                                                                                    s,and(10)costs,includingcojtofprosecution
andcourtcosts.
